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           4/14/20
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                                            Application GRANTED. It is further ORDERED that the parties shall
VIA ECF                                     submit a joint status letter, no later than May 13, 2020, updating
Hon. Barbara Moses                          the Court on the status of expert discovery. SO ORDERED.
United States District Court
Southern District of New York
500 Pearl St. Courtroom 20A                 _______________________________
New York, New York 10007                    Barbara Moses, U.S.M.J., April 14, 2020

        Re:       Joint Stock Company “Channel One Russia Worldwide,” et al. v. Infomir, LLC
                  et al. 16-cv-01318 (GBD) (BCM)

Dear Judge Moses:

       Plaintiff Broadcasters (“Broadcasters”) write jointly with Defendant Infomir, LLC
(“Infomir”) pursuant to the January 24, 2020 Order (ECF 798), March 6, 2020 Discovery Order
(ECF 807), and March 17, 2020 Order (ECF 811) to request a third one month extension for the
exchange of rebuttal expert reports to May 20, 2020 and a corresponding one month extension to
June 30, 2020 for the close of expert discovery. This is the parties’ third request for an extension
to submit rebuttal reports and to extend the date for the close of expert discovery. We believe
good cause exists for the extension due to the social distancing limitations imposed by COVID-19
preventing a supervised in-person inspection of the relevant set-top boxes (“STBs”). In the
interim, the parties will continue to meet and confer in an attempt to arrange examinations of the
STBs and, if possible remote depositions in order to meet the extended deadlines. The parties
make this request without prejudice to make further applications if COVID-19 continues to restrict
physical interaction in the tristate region.

        Due to COVID-19, the parties cannot safely examine the STBs referenced by the parties’
experts. Non-essential travel for in person inspections would not be prudent. The Parties will not
be able to examine the STBs before the April 20, 2020 deadline set forth in the Court’s March 17
order (ECF 811). As a result, the parties request a one month extension to May 20 for the exchange
of rebuttal reports and June 30, 2020 for the close of expert discovery.

        Given the President’s March 13 declaration of a national emergency and Chief Judge
McMahon's closure of the SDNY courthouse for all non-essential purposes, at the Court’s
discretion, the parties will appraise Your Honor by letter by May 20, 2020 of the status of expert
discovery. We remain available if the court is able and desires to hold a teleconference.

        We wish Your Honor good health.

                                                                   Respectfully submitted,
                                                                   /s/ Hardin P. Rowley
